Case 1:21-cv-10848-KMW-SAK Document 21 Filed 02/22/22 Page 1 of 2 PageID: 68




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY
                                  CAMDEN VICINAGE

DENNIS MAURER,                            :
                                          :
      Plaintiff,                          :
                                          :
v.                                        :                 Case No. 1:21-cv-10848-RMB-SAK
                                          :
TIMBERLINE PLAZA, LLC,                    :
                                          :
      Defendant.                          :
_________________________________________ :
                                          :

                                 NOTICE OF SETTLEMENT

       COMES NOW the Plaintiff, DENNIS MAURER, and with consent of Defendant, to

inform the Court that the parties have agreed in principle to settle the above-captioned matter. The

parties are in the process of executing a settlement agreement and stipulated dismissal and expect

those documents to be executed within the next thirty days.



Dated: February 22, 2022

                                                     Respectfully submitted,


                                                      /s/ Jon G. Shadinger Jr.
                                                      Jon G. Shadinger Jr., Esq.
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Case 1:21-cv-10848-KMW-SAK Document 21 Filed 02/22/22 Page 2 of 2 PageID: 69




                                CERTIFICATE OF SERVICE

   The undersigned hereby certifies that on the 22nd of February 2022, I caused a true and

correct copy of the foregoing document to be electronically filed with the Clerk of Court using

the CM/ECF system, which will send notification of such filing to all counsel of record.



                                                                /s/ Jon G. Shadinger Jr.
                                                                Jon G. Shadinger Jr., Esq.
